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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF DISTRICT OF MARYLAND

                                              )
LADASHIA DAUGHTRY                             )
                                              )
       Plaintiff                              )
                                              )
vs.                                           )       Case No. 8:16-cv-02403-PWG
                                              )
RECEIVABLES OUTSOURCING, LLC                  )
                                              )
                                              )
       Defendant                              )
                                              )

       DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S FIRST AMENDED
                            COMPLAINT

       Your Defendant, Receivables Outsourcing, LLC, moves to dismiss Plaintiff’s First

Amended Complaint pursuant to Fed.R.Civ.P. 12(b)(1) on the grounds that this Court lacks

subject matter jurisdiction over Plaintiff’s Complaint or, in the alternative, moves, pursuant to

Fed.R.Civ.P. 12(b)(6) to dismiss this case for failure to state a claim for relief and as grounds

therefore respectfully refers this Honorable Court to the accompanying brief in support of its

motion.

                                         THE LAW OFFICES OF RONALD S. CANTER, LLC

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                              CERTIFICATE OF SERVICE

       The undersigned does hereby certify that a true and correct copy of the foregoing was

served upon the individual(s) listed below by ECF/CM procedures on this 10th day of August,

2016 to:

                                       Aryen E. Stein, Esquire
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                                       /s/ Bradley T. Canter
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